                                   No. _____


              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT
          __________________________________________________

 IN RE RALEIGH WAKE CITIZENS ASSOCIATION; JANNET B. BARNES;
   WILLIE J. BETHEL; ANN LONG CAMPBELL; BEVERLEY S. CLARK;
      WILLIAM B. CLIFFORD; AJAMU G. DILLAHUNT; ELAINE E.
DILLAHUNT; BRIAN FITZSIMMONS; GREG FLYNN; DUSTIN MATTHEW
 INGALLS; AMY T. LEE; LUCINDA H. MACKETHAN; ERVIN PORTMAN;
SUSAN PORTMAN; JANE ROGERS; BARBARA VANDENBERGH; JOHN G.
  VANDENBERGH; AMYGAYLE L. WOMBLE; PERRY WOODS; CALLA
    WRIGHT; and CONCERNED CITIZENS FOR AFRICAN-AMERICAN
   CHILDREN, d/b/a Coalition of Concerned Citizens for African-American
                                Children,

                                            Petitioners,

                                       v.

                 WAKE COUNTY BOARD OF ELECTIONS,

                                            Respondents.

          __________________________________________________

                On Appeal from the United States District Court
                   for the Eastern District of North Carolina
          __________________________________________________

          EMERGENCY PETITION FOR WRIT OF MANDAMUS
          __________________________________________________

                           I.    RELIEF SOUGHT

      Pursuant to Rule 21 of the Federal Rules of Appellate Procedure and Local

Rule 21(a), Plaintiffs-Appellants respectfully move this Court to enter a writ of

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mandamus to execute its mandate issued August 3, 2016 in Raleigh Wake Citizens

Ass’n v. Wake Cnty. Bd. of Elections, Nos. 16-1270 & -1271, Doc. No. 63 (4th Cir.

July 1, 2016) (slip op., at 44) (hereinafter “RWCA”), or in the alternative, to

remand the matter to another Judge of the United States District Court for the

Eastern District of North Carolina to execute immediately the mandate of this

court.

         As more fully detailed below, this Court was clear in its written opinion

issued July 1, 2016 that the trial court was to enter an immediate injunction on

Plaintiffs’ one-person, one-vote claims. RWCA, No. 16-1270, Doc. No. 63 (4th

Cir. July 1, 2016) (slip op., at 44). Further, the Court was clear that it saw no

reason why elections in 2016 should proceed under the election systems found to

be unconstitutional by this Court. Id. (slip op., at 44 n.13). Finally, in its earlier

opinion in these consolidated appeals this Court explained that, should the

Plaintiffs prevail, additional parties were not required to implement a remedy and

the trial court could “mandate that the Board of Elections conduct the next election

according to the scheme in place prior to the Session Law’s enactment until a new

and valid redistricting plan is implemented.” Wright v. North Carolina, 787 F.3d

256, 262 (4th Cir. 2015).

         Following this Court’s denial of the Appellee’s Petition for Rehearing En

Banc, the mandate issued August 3, 2016, but the trial court has, as of this date,



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failed to issue the injunction required on Plaintiffs’ claims. Despite an in-person

status conference and two rounds of briefing by Plaintiffs, the trial court has failed

to enjoin the use of the unconstitutional election systems for 2016, putting in

jeopardy the ability of Plaintiffs to have a remedy that vindicates their rights.

Indeed, despite Defendant’s representation that August 10 is the date by which a

filing period must close so that ballots may be prepared in time for the November

general election, the trial court’s most recent order continues to seek further

information about matters that Plaintiffs contend are beyond the court’s

jurisdiction in these circumstances.

       Because time is of the essence, and the court below has failed to faithfully

carry out the letter and spirit of this Court’s mandate in this case, Plaintiffs have no

other recourse but to seek a writ from this Court directing the trial court to enter an

immediate order declaring the statutes establishing new systems of election for the

Wake County Board of Education and the Wake County Board of County

Commissioners to be unconstitutional and enjoining the use of those districts for

any future elections. Further, the trial court should order the Wake County Board

of Elections to return to the prior, constitutional systems of election for both bodies

and:

       1. Declare the primary held for County Commission super-districts A & B

          in March 2016 to be void as held under unconstitutional districts;



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2. Direct the Wake County Board of Elections to immediately administer

   open a one-week filing period for the five seats on the Wake County

   Board of Education that were last elected in 2011 for election by plurality

   on November 8, 2016.

3. Direct the Wake County Board of Elections to seek the assistance of the

   North Carolina State Board of Elections to slightly modify administrative

   deadlines to allow the Wake County Board of Elections to comply with

   the court’s order.

                        II.   ISSUES PRESENTED

      A. Has the trial court failed to implement this Court’s mandate in

         Raleigh Wake Citizens Ass’n v. Wake Cnty. Bd. of Elections, No.

         16-1270 (4th Cir. July 1, 2016).



      B. Are the districts found to be unconstitutional in RWCA, severable

         from the remaining portions of the statutes implementing new

         election methods for the Wake County Board of Education and

         Wake County Board of County Commissioners where there is no

         severability clause and the remaining provisions cannot be

         implemented without them?




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             C. Does the trial court have the authority to impose a new district

                system proposed by individual legislators where there already exist

                duly enacted, constitutional districts and election systems for the

                Board of Education and Board of County Commissioners?

                           III.   STATEMENT OF FACTS

      On August 22, 2013 Plaintiffs in Wright v. North Carolina filed suit seeking

to enjoin the use of a new election system for the Wake County Board of

Education enacted by the North Carolina General Assembly over the objection of a

majority of the Board on the grounds that the districts violated the one-person, one-

vote requirement of the equal protection clauses of the Fourteenth Amendment to

the U.S. Constitution and Article 1, § 19 of the North Carolina Constitution. 5:13-

cv-607, ECF No. 1 (E.D.N.C. Aug. 22, 2013) (Complaint). Following dismissal of

the action on March 17, 2014, Plaintiffs appealed. Wright, No. 5:13-cv-607, ECF

Nos. 38 (Order), 40 (Notice of Appeal). While that appeal was pending, the North

Carolina General Assembly enacted legislation requiring the use of the same

system for the Wake County Board of County Commissioners on April 2, 2015.

See 2015 N.C. Sess. Laws 4.        On April 9, 2015 the Raleigh Wake Citizens

Association and another set of individual voters filed suit challenging that

legislation on similar one-person, one-vote grounds and raised an additional claim

that racial considerations predominated in the drawing of one of the districts.



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Raleigh Wake Citizens Ass’n v. Wake Cnty. Bd. of Elections, No. 5:15-cv-156,

ECF. No. 1 (E.D.N.C. Apr. 9, 2015) (Complaint) (hereinafter “Raleigh Wake

Citizens Ass’n”).

      On May 27, 2015 the Fourth Circuit issued its ruling reversing the lower

court’s dismissal of Plaintiffs’ claims in the first case. Wright v. North Carolina,

787 F.3d 256 (4th Cir. 2015). The two cases were consolidated and a bench trial

was held on December 16-18, 2015. Raleigh Wake Citizens Ass’n, ECF No. 36

(Oct. 1, 2015 Order). On February 26, 2016, the trial court ruled for Defendant on

all claims and Plaintiffs appealed. Id., ECF No. 64 (Order); ECF No. 66 (Notice of

Appeal). On expedited review, the Fourth Circuit reversed in part and affirmed in

part with an opinion issued July 1, 2016. RWCA, No. 16-1270, Doc. No. 51

(Opinion).

      On July 8, 2016, the District Court issued an Order requesting the parties’

views on how the court should proceed on remand, including the parties’ views on

the issues of remedy and a schedule for devising, considering, and adopting any

court-ordered remedial plan. Raleigh Wake Citizens Ass’n, ECF No. 78 at 8-9

(Order Requesting Remedy Responses) (filed herewith as Exhibit A); see also id.,

ECF Nos. 82 (Pls.’ Response), 83 (Def.’s Response) (filed herewith as Exhibits B-

C). The Court also directed service of the Order on non-parties the North Carolina

Board of Elections, Speaker of the House, and the President Pro Tempore of the



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Senate, asking the Speaker and President Pro Tempore to advise the court, and

asking the State Board of Elections to indicate its “willingness to act under North

Carolina General Statute § 163-22.2 to ensure the timely election of the Wake

County School Board and Wake County Board of Commissioners.” Id.; see also

id., ECF No. 81 (SBE Response) (filed herewith as Exhibit D).

      On July 14, 2016, Defendant petitioned the Fourth Circuit for rehearing en

banc, Plaintiffs filed a motion asking the court to issue the mandate forthwith, and

the Speaker of the House and the President Pro Tempore of the Senate of the North

Carolina General Assembly filed a motion to intervene. RWCA, Doc. Nos. 53 (Pet.

for Reh’g), 56-1 (Mot. to Issue Mandate Forthwith), 55-1 (Mot. to Intervene). This

Court denied the petition for rehearing en banc on July 26, 2016 and on August 3,

2016 denied the motion to intervene. RWCA, Doc. Nos. 62 (denying Pet. for

Reh’g), 64 (denying Mot. to Intervene). The mandate issued per normal procedure

on August 3, 2016. RWCA, Doc. No. 63.

      In the meantime, the District Court had issued an Order on July 27, 2016,

setting a status conference concerning the applicable remedy for Tuesday, August

2, 2016. Raleigh Wake Citizens Ass’n, ECF No. 86 at 1 (Order Setting Hr’g) (filed

herewith as Exhibit E). In that Order, the court requested that the counsel for the

Speaker of the House and President Pro Tempore of the Senate be present and

address the court concerning when they would be able to submit illustrative maps



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to the court. Id. The court also requested that counsel for the North Carolina State

Board of Elections, also not parties in the case, indicate when they would be able

to submit a proposed remedial plan. Id. at 2.

      At the August 2, 2016 status conference, counsel for Plaintiffs argued that

the Opinion in this case was clear concerning the need to issue an immediate

injunction upon issuance of this Court’s forthcoming mandate, preventing any

future use of the unconstitutional election districts. See Tr. of 8/2/16 Hr’g at

22:19-24:7 (filed herewith as Exhibit F). Further, counsel for Plaintiffs argued that

where fully constitutional districts already exist for both bodies and the legislature

has not acted to adopt alternative plans, the prior, constitutional district system

should be reinstituted because the trial court does not have the authority to adopt

its own set of districts. See id. at 19:2-14. The Court granted Speaker Moore and

President Pro Tem Berger leave to submit “illustrative maps” for the Wake County

School Board and County Commission. Id. at 41:7-23. Defendant Wake County

Board of Elections stated that while there “may be a little bit of give” in the 30-day

period required to prepare ballots and that the State Board of Elections has the

authority to modify these deadlines, August 10 was the date by which, under

current law without any modifications, the Wake County Board of Elections would

need to have final ballot information including candidate names and whether there

are potential write-in candidates. Id. at 7:10-9:4.



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      Plaintiffs argued in court and in their briefing that the districts are not

severable from the remainder of the statutes in each instance, and also outlined a

process for returning to the prior methods of election for the Wake County School

Board and Board of County Commissioners. See id. at 25:15-26:15, 27:17-28:11,

45:18-23; Raleigh Wake Citizens Ass’n, ECF Nos. 82 (Pls.’ Response to July 8

Order) (filed herewith as Exhibit B), 87 (Pls.’ Response to July 27 Order) (filed

herewith as Exhibit G), 96 (Pls.’ Response to August 4 Order) (filed herewith as

Exhibits H).

      Following the status conference, on August 3, Speaker Moore and President

Pro Tem Berger filed with the trial court maps, statistics, and electronic files

purporting to document an alternative set of seven single-member districts and two

super districts in Wake County.     Raleigh Wake Citizens Ass’n, ECF No. 91

(Notice). On August 4, 2016 the trial court issued an Order “declaring that the

population deviations in the redistricting plans in Session Law 2013-110 for the

Wake County School Board and Session Law 2015-4 for the Wake County Board

of Commissioners violate the equal protection clauses of the Fourteenth

Amendment to the United States Constitution and Article 1 § 19 of the North

Carolina Constitution.” Raleigh Wake Citizens Ass’n, ECF No. 93 (Order) (filed

herewith as Exhibit I). The Order does not enjoin the use of the election systems

established by those laws. Instead, the trial court invited yet more submissions



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from the parties, and from the non-parties Speaker Moore and President Pro Tem

Berger and the State Board of Elections on the remedy, “including the nature and

scope of injunctive relief.” Id. at 2. On August 5, Plaintiffs filed a motion to strike

the filing of an illustrative set of districts by non-parties to the case that were not

enacted by the North Carolina General Assembly, and also filed a second,

supplemental memorandum of law concerning the trial court appropriate

jurisdiction in these circumstances. Raleigh Wake Citizens Ass’n, ECF Nos. 94

(Mot. to Strike), 95 (Mem. in Support). No other parties or non-parties filed

further material in response to the Court’s August 4 Order.

      On Sunday, August 7, 2016, the trial court issued another Order inviting the

Defendant Wake County Board of Elections, but not Plaintiffs, to file a response

with the court ranking four possible scenarios for the November 2016 elections in

terms of their feasibility. Raleigh Wake Citizens Ass’n, ECF No. 97 (Aug. 7, 2015

Order) (filed herewith as Exhibit J). One of the four scenarios on which the court

requested information would “use the redistricting plan that the Fourth Circuit

declared unconstitutional.” Id. at 2. The trial court also invited the Defendant

Wake County Board of Elections to inform the court “if it is infeasible or

impossible to have orderly elections on November 8, 2016 under any of the four

options.” Id. Thus, to date, the District Court has failed to follow the mandate of

this Court.



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                IV.    REASONS WHY THE WRIT SHOULD ISSUE

      The party seeking a writ of mandamus must demonstrate each and every one

of the following requirements: (1) he has a clear and indisputable right to the relief

sought; (2) the responding party has a clear duty to do the specific act requested;

(3) the act requested is an official act or duty; (4) there are no other adequate

means to attain the relief he desires; and (5) the issuance of the writ will effect

right and justice in the circumstances. Earley v. Braxton (In re Braxton), 258 F.3d

250, 261 (4th Cir. 2001).

      Here, the Petitioners are entitled to the immediate relief established by this

Court’s order and mandate in RWCA. “Once a case has been decided on appeal and

a mandate issued, the lower court may not ‘vary it [the mandate] or examine it for

any other purpose than execution; or give any other or further relief; or review it,

even for apparent error, upon any matter decided on appeal; or intermeddle with it,

further than to settle so much as has been remanded.’” Stamper v. Baskerville, 724

F.2d 1106, 1107 (4th Cir. 1984) (quoting In re Sanford Fork & Tool Co., 160 U.S.

247, 255–56, 16 S.Ct. 291, 293, 40 L.Ed. 414 (1895)); see also, Doe v. Chao, 511

F.3d 461 (4th Cir. 2007); Redic v. Gary H. Watts Realty Co., 862 F.2d 314 (4th

Cir. 1988).

      Not only must the district court follow the express terms of the mandate, the

court must also implement the spirit of the mandate. “When this court remands for



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further proceedings, a district court must, except in rare circumstances, implement

both the letter and spirit of the mandate, taking into account our opinion and the

circumstances it embraces.” United States v. Pileggi, 703 F.3d 675, 679 (4th Cir.

2013) (internal alteration, quotation marks, and citation omitted).

      A. THE TRIAL COURT HAS FAILED TO IMPLEMENT THIS COURT’S
         MANDATE

      To date, the only relief that the trial court has ordered, despite being on

notice of this Court’s opinion since July 1, 2016, and on notice of the denial of

rehearing en banc since July 26th, is an order declaring the deviations in the

districts to be unconstitutional. Ex. I at 2. Enjoining merely the deviations in the

unconstitutional plans is not the relief ordered by the Court of Appeals, and has not

been the relief routinely afforded to prevailing plaintiffs in one person, one vote

cases. See, e.g., Larios v. Cox, 300 F. Supp. 2d 1320, 1356 (N.D. Ga.), summarily

aff’d, 124 S. Ct. 2806 (2004) (enjoining further use of the challenged districts, not

just their population deviations, in future elections).

      Plaintiffs are entitled to complete relief on their one person, one vote claims,

including relief from the clearly “pretextual” fruits of the unconstitutional tree.

RWCA, No. 16-1270 (slip. op., at 34). As the Fourth Circuit has recently ruled:

“courts are tasked with shaping ‘[a] remedial decree . . . to place persons’ who

have been harmed by an unconstitutional provision ‘in the position they would

have occupied in the absence of [discrimination].’” N.C. State Conf. of the NAACP


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v. North Carolina, No. 16-1468, 2016 U.S. App. LEXIS 13797, *73 (July 29,

2016) (quoting United States v. Virginia, 518 U.S. 515, 547 (1996)). Here, the

discrimination by the General Assembly was on the basis of partisan affiliation, but

the principle remains the same. Just as in other civil rights actions involving

claims of discrimination, “the proper remedy for a legal provision enacted with

discriminatory intent is invalidation.” Id.    In this case it means Plaintiffs are

entitled to a declaration that the two statutes challenged in this case are

unconstitutional under the equal protection clauses of the North Carolina and

United States Constitutions.

      As noted in the July 8, 2016 Order, the Fourth Circuit remanded “with

instruction to enter immediately judgment for Plaintiffs, granting both declaratory

relief and a permanent injunction, as to the one person, one vote claims.” RWCA,

2016 U.S. App. LEXIS 12136, at *45 (footnote omitted). This instruction is

further reinforced by the accompanying footnote which states “[w]e see no reason

why the November 2016 elections should proceed under the unconstitutional plans

we strike down today.” Id., at*45 n.13.

      The District Court is also bound by the instructions from the Fourth Circuit

when this issue arose in the context of whether the Wake County Board of

Elections was a sufficient defendant to allow Plaintiffs full relief should they

prevail on any of their claims. See Wright, 787 F. 3d at 262-63. The ruling of the



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Fourth Circuit did not call for inquiry into the opinions of non-parties for the

implementation of a remedy. The Fourth Circuit ruled that the Board of Elections

is a sufficient party for a remedy and that no new districts need to be drawn in

order for a valid election to occur if Plaintiffs succeed. Id. Specifically, the Court

held:

        Plaintiffs counter that if the Proposed Defendants are not party to their
        suit, there will be no mechanism for forcing a constitutionally valid
        election, should they succeed in enjoining the Session Law. This
        assertion is, however, incorrect. The district court could, for example,
        mandate that the Board of Elections conduct the next election
        according to the scheme in place prior to the Session Law's enactment
        until a new and valid redistricting plan is implemented.

        Id. Accordingly, Plaintiffs seek a writ of mandamus to require the trial court

to implement this Court’s mandate and enjoin the use of the method of election

established by the unconstitutional statutes and to clarify for the Defendant Wake

County Board of Elections that they should conduct the next elections in 2016

“according to the scheme in place prior to the Session Law’s enactment.” Wright,

787 F.3d at 262.

        Once the mandate of the Fourth Circuit Court of Appeals was issued in this

case on August 2, 2016, the District Court was obligated to implement the Fourth

Circuit’s judgment and enjoin the use of the unconstitutional election systems

established by Session Law 2013-110 and Session Law 2015-4.

        B. THE UNCONSTITUTIONAL DISTRICTS ARE NOT SEVERABLE
           FROM THE REST OF THE STATUTE


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      With regard to both of the statutes found unconstitutional, because the

remainder of the statute cannot be implemented without the districts at issue, the

entire statute is unconstitutional.    State law determines the severability of

unconstitutional portions of a state law in federal court. Sons of Confederate

Veterans v. Vehicles, 288 F.3d 610, 627 (4th Cir. 2002); Environmental Tech.

Council v. Sierra Club, 98 F.3d 774, 788 (4th Cir. 1996); see also Department of

Treasury v. Fabe, 508 U.S. 491, 509-10 (1993) (state law governs severability of a

state statute). Under North Carolina law, when one portion of a statute is declared

unconstitutional or is otherwise stricken, the surviving portion will be given effect

only if it is severable. See Flippin v. Jarrell, 301 N.C. 108, 117-18, 270 S.E.2d

482, 488-89 (1980); Constantian v. Anson County, 244 N.C. 221, 227-28, 93

S.E.2d 163, 168 (1956).

      In State ex rel. Andrews v. Chateau X, Inc., 296 N.C. 251, 259-60, 250

S.E.2d 603, 608 (1979), the North Carolina Supreme Court identified two factors

to be considered in assessing severability: (1) whether the remaining portions of

the statute are capable of being enforced on their own; and (2) whether there is

legislative intent to enforce the remainder, “particularly . . . whether that body

would have enacted the valid provisions if the invalid ones were omitted.”

Moreover, the North Carolina Supreme Court has emphasized the second factor,

holding that when a portion of a statute is stricken, the whole must fall absent a


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clear legislative intent to the contrary: “when the statute, or ordinance, could be

given effect had the invalid portion never been included, it will be given such

effect if it is apparent that the legislative body, had it known of the invalidity of the

one portion, would have enacted the remainder alone.” Jackson v. Guilford Cnty.

Bd. of Adjustment, 275 N.C. 155, 168-69, 166 S.E.2d 78, 87 (1969); see also Pope

v. Easley, 354 N.C. 544, 556 S.E.2d 265 (2001) (applying Jackson to a state statute

that had a severability clause).

       In determining severability, the intent of General Assembly may be

indicated by the inclusion of a severability clause. Fulton Corp. v. Faulkner, 345

N.C. 419, 421, 481 S.E.2d 8, 9 (1997).            However, even where there is a

severability clause, the court looks to the act as a whole and will not use a

severability clause to “vary and contradict” the express terms of a statute. Sheffield

v. Consolidated Foods Corp., 302 N.C. 403, 421-22, 276 S.E.2d 422, 434-35

(1981).

       Here, neither of the statutes at issue contains a severability clause. See 2013

N.C. Sess. Laws 110; 2015 N.C. Sess. Laws 4. The districts that were declared

unconstitutional are an integral part of the election systems established by the

statutes.   It is not possible to implement the new system without district

boundaries. In these circumstances, there is no part of the statute that is severable,

and there is no indication whatsoever that the North Carolina General Assembly



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intended that any portion of either statute be implemented without the districts they

drew. Thus, neither statute meets the Jackson test for severability under North

Carolina law.

      Contrary to this straightforward application of state law, the trial court’s

approach to the relief in this case assumes severability and therefore does not

comply with this Court’s mandate. In affording Plaintiffs declaratory relief only as

the numerical deviations resulting from the unconstitutional redistricting plans, the

trial court is deciding the question of whether the challenged session laws are

severable without addressing it. At the very least, the trial court must consider

North Carolina law on severability, examine the statutes at issue, and review

whether the legislature would have enacted the statutes without the

unconstitutional districts.

      C. THE TRIAL COURT CANNOT IMPOSE ITS OWN DISTRICTS

      Any new plan not duly enacted by the North Carolina General Assembly

cannot be imposed as a remedial plan. Where there already exist fully

constitutional and previously implemented districts for the Wake County School

Board and Board of County Commissioners, the Court has no power or authority to

order any remedial districts and to do so could be reversible error. See Cleveland

Cnty. Assoc. for Gov’t by the People v. Cleveland Cnty. Bd. of Comm’rs, 142 F.3d

468 (D.C. Cir. 1998) (vacating decree entered where existing method of election



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was not contrary to federal law); see also, McGhee v. Granville Cnty, 860 F.2d

110, 120 (4th Cir. 1988) (court cannot impose its own plan instead of the county’s

remedial plan unless the county’s plan is itself unconstitutional).

        Where there already is a constitutional redistricting plan for the election of

members of the Wake County Board of Education and Board of County

Commissioners, it is important to recall the frequent exhortations of the United

States Supreme Court that redistricting “be undertaken by a district court only as a

last resort.” Lawyer v. Dep’t of Justice, 521 U.S. 567, 586 (1997) (citing White v.

Weiser, 412 U.S. 783 (1973)).” Because constitutional districts already exist, the

trial court need not, and indeed, should not take that last resort of drawing its own

plan.    For a recent example of a court ordering such a reversion to prior

constitutional plans in the one person, one vote context, the Court need look no

farther than the Middle District of North Carolina, where plaintiffs challenging a

local redistricting plan enacted by the same legislature obtained a preliminary

injunction prohibiting the challenged session law’s implementation and ordering

that the prior plans be used for upcoming elections. See City of Greensboro v.

Guilford Cnty. Bd. of Elections, 120 F. Supp. 3d 479 (M.D. N.C. 2015).

        The judiciary’s reasons for assiduously avoiding unnecessary engagement in

redistricting are multiple. Federal court redistricting represents “a serious intrusion

on the most vital of local functions.” Miller v. Johnson, 515 U.S. 900, 915 (1995).



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It is well settled that ‘reapportionment is primarily the duty of and responsibility

of” the legislature or legislative body that traditionally conducts redistricting.

Chapman v. Meier 420 US 1, 27 (1975).          Thus, judicial redistricting by federal

courts is an “unwelcome obligation,” Connor v. Finch, 431 U.S. 407, 415 (1977),

and should be avoided if not absolutely necessary. For the trial court to arbitrarily

choose one state legislator’s plan over another’s, that is, for example, to choose

Senator Berger and Representative Moore’s plan over Representative Gill’s plan,

represents the court deciding what districts and what election method should be

used rather than the entities under state law authorized to make that choice.

      It is widely acknowledged that redistricting is a political matter that is

properly left to the political branches and that redistricting by the courts is to be

avoided. See Hall v. Louisiana, 108 F. Supp. 3d 419, 423 (M.D. La. 2015) (“To be

sure, the U.S. Supreme Court has made clear that redistricting is primarily within

the province of the state legislature.”); See also, Abrams v. Johnson, 521 U.S. 74,

101 (1997) (“[t]he task of redistricting is best left to state legislatures, elected by

the people and as capable as the courts, if not more so, in balancing the myriad

factors and traditions in legitimate districting policies.”); White v. Weiser, 412 U.S.

783, 794 (1973) (“From the beginning, we have recognized that ‘reapportionment

is primarily a matter for legislative consideration and determination.”). It would

be highly improper for the trial court to select a redistricting plan and method of



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election to replace the system already in place that has been used by Wake County

voters since 2011.

      The prior districts are part of a plan that is entirely constitutional and should

be implemented by the District Court. Typically in redistricting cases, the prior

redistricting plan is also unconstitutional because it no longer complies with one-

person, one-vote using the most current census data. However, in this unusual case

where a mid-decade re-redistricting has occurred, the prior plan is a constitutional

plan and can be used. The prior districts represent the judgment of the bodies

involved regarding how their districts should be drawn. They are known to the

voters and have previously been implemented by the Defendant Board of

Elections. In these circumstances, the District Court was obligated to allow the

State Board of Elections to administratively return to the prior system of election

and newly drawn districts for the school board and county commission were not

required. The only remedy the District Court had the authority to implement was a

permanent injunction prohibiting the use of the unconstitutional election systems

and a writ of prohibition is necessary to regulate the District Court to its proper

authority.

      D. TIME IS OF THE ESSENCE AND PETITIONERS HAVE NO OTHER
         MEANS OF OBTAINING RELIEF

      Because elections for both the Board of Education and Board of

Commissioners are imminent and the court’s mandate has yet to be followed, it is


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critical that this writ issue. The trial court’s four orders to date since this Court’s

finding that the statutes at issue are unconstitutional make clear that the trial court

is not carrying out the spirit or the letter of the law of this case. All of the

arguments and authorities presented in this Petition have been brought to the

attention of the trial court, to no avail. This is not a situation where Petitioners can

await a final judgment from the trial court implementing the mandate and proceed

with an appeal at that time to obtain the necessary relief.

      Returning to the prior method of election for both governing bodies in Wake

County is straightforward and feasible if done immediately. For the Board of

County Commissioners, the changes required at this point to return to the prior

constitutional method of election are minimal. In order to return that Board to the

structure and system in place before Session Law 2015-4 was enacted, this year’s

at-large elections for the three commission seats from residency districts should

proceed, electing those members to four-year terms. The filing period has already

closed for candidates for the at-large seats from existing residency districts for the

Board of Commissioners. Those seats are using the prior, constitutional districts,

see 2015 N.C. Sess. Laws 4 § 1.(b), and there is no need to reopen filing or do

anything different to change that election process already underway.       By virtue of

the mandate issuing in this case, the primary that occurred in super-districts A and

B in March 2015 is void because those are unconstitutional districts.



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      For the Wake County School Board, the State Board of Elections should

direct the local board to take steps to return to the prior constitutionally permissible

system, which included odd-year elections with staggered terms, using the single-

member districts enacted in 2011. To accomplish this, the five school board seats

elected in 2011 should be open for election in November 2016 for three-year terms

to prevent those members from holding over any longer and to prevent the entire

board from being up for election at the same time. Cf. N.C. Gen. Stat. § 115C-

37(a) (“The terms of office of the members [of county boards of education] shall

be staggered so as nearly equal to one half as possible shall expire every two

years.”). The four seats elected in 2013 can be open for election in the fall of 2017

according to the normal schedule that they would have had before Session Law

2013-110. This would return the Board to a 5-4 stagger of four-year terms each.

The November 2016 election would allow for an August filing period, and would

require non-partisan election by plurality rather than a run-off. This procedure

provides the most efficient return to the prior systems with the least disruption

possible for voters.

      The right to vote is one of the most fundamental rights in our democracy and

is thus afforded special protections.     See Reynolds, 377 U.S. at 554-55, 563;

Wesberry v. Sanders, 376 U.S. 1, 17 (1964) (“Other rights, even the most basic, are

illusory if the right to vote is undermined.”).        As such, any impediment or



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abridgment of the right to vote is an irreparable injury. Elrod v. Burns, 427 U.S.

347, 373 (1976). There are already constitutional plans available from 2011 for

use and proceeding under the proposed plan will cause Plaintiffs and other Wake

County voters to suffer irreparable injury if they are forced to participate in

elections using unconstitutional districts. See Larios v. Cox, 305 F. Supp. 2d 1335,

1344 (N.D. Ga. 2004) (“If the court permits a stay, thereby allowing the 2004

elections also to proceed pursuant to unconstitutional plans, the plaintiffs and many

other citizens in Georgia will have been denied their constitutional rights in two of

the five elections to be conducted under the 2000 census figures. ... Accordingly,

we find that the plaintiffs will be injured if a stay is granted because they will be

subject to one more election cycle under unconstitutional plans.”).

      Granting the writ is will secure Plaintiffs’ rights and serve the public

interest. It will minimize voter confusion and disruption to the election process by

ensuring that this litigation is concluded very close to the fast approaching existing

deadline of August 10 for ballot preparation. This is the last deadline that proceeds

the planned mailing of military, overseas and absentee ballots by the Wake County

Board of Elections on September 9. The Writ should issue with all possible haste

so that the election may proceed with a lawful remedy that adheres to the decisions

already made by the Fourth Circuit.




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                                   CONCLUSION

     For these reasons Petitioners respectfully move this Court to enter a writ of

mandamus as specified above.

     Respectfully submitted this 8th day of August, 2016.

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                          CERTIFICATE OF SERVICE
                          **************************

I certify that on August 8, 2016 the foregoing document was served on all parties
or their counsel of record through the CM/ECF system if they are registered users
or, if they are not, by serving a true and correct copy at the addresses listed below:

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